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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELA WARE


        IPA TECHNOLOGIES INC.,

                           Plaintiff,                    C.A. No. 1: l 7-cv-00119-RGA

        v.
                                                         JURY TRIAL DEMANDED
        ACER INC. and ACER AMERICA
        CORPORATION,

                           Defendant.


                            STIPULATION FOR DISMISSAL WITHOUT PREJUDICE

               Plaintiff IPA Technologies Inc. ("IPA") and Defendants Acer Inc. and Acer America

        Corporation pursuant to Fed. R. Civ. P. 41 (a)(l)(A)(ii) hereby stipulate to dismissal of this action

        including all claims filed by IPA, WITHOUT PREJUDICE, with each party to bear its own

        costs, expenses, and attorneys' fees.
                                                                                                                II
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Dated: March 16, 2018

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                                                      SO ORDERED this   R   day   o1.tl1u, 21lr6
